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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                JUDGE R. BROOKE JACKSON

Civil Action:         21-cr-00229-RBJ                    Date: April 12, 2022
Courtroom Deputy:     Julie Dynes                        Court Reporter: Terri Lindblom
Interpreter:          N/A                                Probation: N/A

                Parties                                              Counsel

 UNITED STATES OF AMERICA                                        Sara Clingan
                                                                 Megan Lewis
                                                                Anthony Mariano
                                                                 William Vigen
                                                                Terrence Parker
                          Plaintiff
 v.


 1. DAVITA INC                                                     John Dodds
                                                                  Daniel Crump
                                                                   John Walsh
 2. KENT THIRY                                                   Juanita Brooks
                                                               Thomas Melsheimer
                                                              J. Clayton Everett Jr.
                                                                  Jeffrey Stone
                          Defendants


                                      COURTROOM MINUTES


JURY TRIAL DAY SEVEN

Court in Session: 8:58 a.m.

Defendant Kent Thiry present on bond. Kathleen Waters present as representative of Defendant
DaVita, Inc.

Jury present.

ORDERED: Exhibit 587 is admitted.

Government’s witness, Elliot Holder, called and sworn.
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9:05 a.m.       Direct examination of Mr. Holder by Mr. Mariano.
                Exhibits 218, 221, 224 and 226 are admitted.

9:38 a.m.       Cross examination of Mr. Holder by Mr. Melsheimer.

10:10 a.m.      Redirect examination of Mr. Holder by Mr. Mariano.

Juror questions reviewed at the bench.

10:14 a.m.      Juror questions asked of Mr. Holder by the Court.

The government rests its case-in-chief.

10:25 a.m.      Court in recess- jury escorted out.
10:28 a.m.      Court in session – jury escorted in.

Discussion held on previous argument regarding the testimony of Mr. Thurman.

Argument given on Oral Motion for Judgment of Acquittal by Mr. Walsh, Mr. Stone, and Mr.
Parker.

Parties request to delay ruling until a written motion and responses can be filed.

Pause in proceedings.

Jury present.

Opening statement by Mr. Melsheimer.

Defense witness, Dr. Pierre Cremieux, called and sworn.

11:17 a.m.      Direct examination of Dr. Cremieux by Mr. Melsheimer.
                Exhibits B540-B549 and B551-B555 are admitted.

12:00 p.m.      Court in recess – jury escorted out.
1:17 p.m.       Court in session – jury escorted in.

1:18 p.m.       Continued direct examination of Dr. Cremieux by Mr. Melsheimer.
                Exhibits B556, B557, B559-B561, B563, B564, B566, B568-B573, B576, B577,
                B579-B583 and B587 are admitted.

1:58 p.m.       Cross examination of Dr. Cremieux by Mr. Vigen.
                Exhibit 591 is admitted.
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Jury excused.

Discussion held on expert witness testimony.

3:08 p.m.       Court in recess.
3:28 p.m.       Court in session.

Jury not present.

Discussion held on expert witness testimony.

3:32 p.m.       Redirect examination of Dr. Cremieux by Mr. Melsheimer.
                Exhibits B588 and B589 are admitted.

Jury excused.

Juror questions reviewed at the bench.

Jury present.

3:58 p.m.       Juror questions partially asked of Dr. Cremieux by the Court.

Jury excused, to return tomorrow at 9:00 a.m.

4:42 p.m.       Court in recess.
4:48 p.m.       Court in session.

Jury instructions reviewed and ruled upon, as stated on the record.

Court in Recess: 6:03 p.m.            Trial continued.                Total time in Court: 07:19
